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                                            U.S. Department of Jnstice      f -^itVW
                                                                           chambers 0»
                                                                           U LEO Cft>88Si
                                            United States Attorney           U. St. Sk.i
                                            Eastern District ofNew York

    EOC:eC                                  156Pierrepont Street
    200 ORO 860                             Brooklyn, New York 11201
                                            May 6, 2003

    The Honorable I. Leo Glasser
    United States District Judge
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, NY 11201

    Rei . United States v. Abraham Salarnan, .
           Criminal Docket No. OO      IPS (ILG)
           Criminal Docket No. 00 OR 930 (ILG)

    Dear Judge Glasser:

                  In light of issues raised on May 1, 2003 at the hearing on
    defendant's motion to vacate the restitution order against him,- the
    government agrees that, "the need to provide restitution to any victim
    is outweighed by the burden on the sentencing process," 18 U.S.C. §
    3663A, Therefore, because of the particular facts presented here, the
    government agrees with defendant that this Court's restitution order
    should be vacated and that a new restitution order should not be
    entered.

                                      Respectfully submitted,

                                      ROSLYNN R. MAUSKOPF
                                      United States Attorney


                                By:   £ cy
                                      Eric Corngold
                                      Assistant U.S. Attorney




   cc: Joel M. Cohen, Esq.




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